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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                Defendant.                        *
                                                  *

                       JOINT STATUS REPORT
     AND GOVERNMENT’S UNOPPOSED MOTION FOR EXTENSION OF TIME

       On August 3, 2024, the Court issued an order scheduling a status conference for August 16,

and directed the parties to confer and file by August 9 a joint status report that proposes a schedule

for pretrial proceedings moving forward. ECF No. 197. The parties have conferred.

       The Government continues to assess the new precedent set forth last month in the Supreme

Court’s decision in Trump v. United States, 144 S. Ct. 2312 (2024), including through consultation

with other Department of Justice components. See 28 C.F.R. § 600.7(a) (“A Special Counsel shall

comply with the rules, regulations, procedures, practices and policies of the Department of

Justice,” including “consult[ing] with appropriate offices within the Department for guidance with

respect to established practices, policies and procedures of the Department . . . .”). Although those

consultations are well underway, the Government has not finalized its position on the most

appropriate schedule for the parties to brief issues related to the decision. The Government

therefore respectfully requests additional time to provide the Court with an informed proposal

regarding the schedule for pretrial proceedings moving forward. The defense does not object to

the Government’s request for an extension.

       Accordingly, the Government requests that the Court enter an order requiring the parties

to submit another joint status report by Friday, August 30, and continuing the scheduled status
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conference until a convenient day thereafter. The Government is available any day after August

30; the defense is unavailable on September 6 and the week of September 16.

                                                          Respectfully submitted,

        /s/John G. Lauro                                  JACK SMITH
       John F. Lauro, Esq.                                Special Counsel
       Greg Singer, Esq.
       LAURO & SINGER                             By:     /s/Molly Gaston
                                                          Molly Gaston
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